Case 2:05-cr-20006-SH|\/| Document 18 Filed 07/12/05 Page 1 of 2 Page|D 20

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FoR THE wEsTERN DISTRICT 0F TEl\tr\rESSTE}EASM60ou

WESTERN DIVISION U.EP§ US §§§`t§§smomr
W§) §§ § §§§=§§§1

UNITED STATES OF AMERICA,

Plaintiff, Case No. 05-20006 D P
vs.

CURTIS N. DOTSON,

Defendant.

 

ORDER OF TRANSFER

 

The above-styled case is hereby transferred to Judge Samuel H. Mays, Jr., in exchange for
USA v. Ariane Grant, Case No. 05-20074 MaP. The parties shall, on all pleadings and
correspondence related to this matter, change the judge’s initials in the case number from 05-20006

D P to 05-20006 MaP.

lr ls so ORDERED this 11 day of §§ ;&;' 2005.

 

UNI ED STATES DISTRICT JUDGE

  
 

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with Ftuia 55 and/or 32(b) FFtCrP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:05-CR-20006 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

